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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


TQP DEVELOPMENT, LLC
                              Plaintiff,                Civil Action No. 2:12-cv-180-WCB-RSP
               v.                                                    CONSOLIDATED

INTUIT INC.,                                                      JURY TRIAL DEMANDED

                              Defendants.



      STIPULATION BETWEEN TQP DEVELOPMENT, LLC AND THE HERTZ
              CORPORATION RE DISMISSAL WITH PREJUDICE
       Plaintiff TQP Development, LLC (“TQP”) hereby provides notice that on unopposed
motion by TQP, the Court of Appeals for the Federal Circuit has dismissed TQP’s appeal (No.
14-1751, Doc. 16). Further, TQP and defendant The Hertz Corporation pursuant to Fed. R. Civ.
P. 41(a)(1)(A)(ii), (a)(2) and (c) and their agreement (Dkt. No. 197-2), hereby stipulate to the
dismissal of all claims and counterclaims between them in this action WITH PREJUDICE, with
each party bearing its own costs, expenses and attorneys’ fees.

        The parties recognize and consent to the dismissal Order (Dkt. No. 205) previously
entered by the Court and so submit no additional proposed form of order with this filing.

SO STIPULATED.


Dated: October 3, 2014                            Respectfully submitted,

                                                  TQP DEVELOPMENT, LLC

                                                  By: /s/ Paul A. Kroeger

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                                 CERTIFICATE OF SERVICE


       I hereby certify that the counsel of record who are deemed to have consented to
electronic service are being served on October 3, 2014, with a copy of this document via the
Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served
by electronic mail, facsimile transmission and/or first class mail on this same date.



                                                             /s/ Paul A. Kroeger
                                                                Paul A. Kroeger
